Case 18-70870-JAD   Doc 184    Filed 01/27/21 Entered 01/27/21 13:51:47   Desc Main
                              Document     Page 1 of 11



                IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE:

 LARRY FREDERICK and                         Bankruptcy No. 18-70870-JAD
 SHARON FREDERICK,
                                             Chapter 11
             Joint Debtors,
                                             Document No.
 LARRY FREDERICK and
 SHARON FREDERICK,

             Movants,

       vs.

 M&T BANK, THE UNITED STATES OF
 AMERICA FARM SERVICE AGENCY,
 CARGILL, INC., SUSQEHANNA
 COMMERCIAL FINANCE, INC.,
 GROWMARK FS, LLC, FS FINANCIAL
 SERVICES, LLC, WELLS FARGO
 VENDOR FINANCIAL SERVICES, LLC,
 BLAIR COUNTY TAX CLAIM BUREAU,
 PENNSYLVANIA DEPARTMENT OF
 REVENUE, AND THE INTERNAL
 REVENUE SERVICE,

             Respondents.

      MOTION FOR SALE OF REAL PROPERTY AND PERSONAL PROPERTY
       FREE AND CLEAR OF ALL LIENS, CLAIMS AND ENCUMBRANCES

       AND NOW come Larry Frederick and Sharon Frederick (the “Debtors”), by and

 through their Counsel, Robert O Lampl, John P. Lacher, Ryan J. Cooney and Sy O.

 Lampl and file the following MOTION FOR SALE OF REAL PROPERTY AND

 PERSONAL PROPERTY FREE AND CLEAR OF ALL LIENS, CLAIMS AND

 ENCUMBRANCES (the “Motion”):




                                         1
Case 18-70870-JAD      Doc 184    Filed 01/27/21 Entered 01/27/21 13:51:47          Desc Main
                                 Document     Page 2 of 11



                               JURISDICTION AND VENUE

        1.     This Honorable Court has jurisdiction over this matter pursuant to 28

 U.S.C. Section 1334 and 28 U.S.C. Section 157. Venue is proper pursuant to 28 U.S.C.

 §§ 1408 and 1409.

        2.     This matter is a “core” proceeding in accord with 28 U.S.C. § 157(b)(2).

        3.     Sections 105 and 363 of title 11, United States Code, 11 U.S.C. §§ 101 et

 seq. (as amended, “Bankruptcy Code”) and Rules 6004 and 9014 of the Federal Rules

 of Bankruptcy Procedure (“Bankruptcy Rules”) serve as the statutory bases for the relief

 requested in this Motion.

                                      BACKGROUND

        4.     The Movants, Larry and Sharon Frederick, are the Debtors in this Chapter

 11 Case.

        5.     On January 8, 2021, the Debtors filed a Motion to Approve Stipulation and

 Consent Order Settling Contested Matters Between the Debtors and M&T Bank and

 Establishing Asset Sale Process (the “Motion to Approve”) (DOC # 173).

        6      The Motion to Approve seeks approval of a Stipulation between the

 Debtors, M&T Bank (M&T) and the United States of America Farm Service Agency (the

 “FSA”), which Stipulation provides for a sales process for three pieces of real property

 owned by the Debtors along with corresponding personal property (See Exhibit A to the

 Motion to Approve) (the “Stipulation”).

        7.     While the Stipulation is still pending approval, the Debtors intend to initiate

 a sales process consistent with the same.




                                              2
Case 18-70870-JAD      Doc 184    Filed 01/27/21 Entered 01/27/21 13:51:47         Desc Main
                                 Document     Page 3 of 11



        8.     The Debtors own, and seek to sell through this Motion, the following

 parcels of real property along with the improvements and any buildings or structures

 located thereon:

               A.     An approximately 161-acre parcel located at, and commonly known

                      as, 1098 Frederick Road, Martinsburg, Pennsylvania 16662 and

                      identified as Blair County Map Number: 20.00-09..-009.00-000

                      (“1098 Frederick Road”);

               B.     An approximately 66-acre parcel located at, and commonly known

                      as, 1219 Frederick Road, Martinsburg, Pennsylvania 16662 and

                      identified as Blair County Map Number: 20.00-09..-008.00-000

                      (“1219 Frederick Road”) (collectively with 1098 Frederick Road, the

                      “Frederick Road Properties”); and

               C.     An approximately 59.94-acre parcel identified as Blair County Tax

                      Parcel No. 20.000-12-001.00, located at Frederick Road in

                      Martinsburg, Pennsylvania 16662, which is referred to as Cove

                      Lane (“Cove Lane”).

        9.     The Debtors also own, and seek to sell through this Motion, various pieces

 of farming equipment and livestock. A list of equipment that the Debtors seek to sell is

 attached hereto as EXHIBIT A.        A list of livestock that the Debtors seek to sell is

 attached hereto as EXHIBIT B (the equipment listed on Exhibit A along with the

 livestock listed on Exhibit B shall collectively be referred to as the “Personal Property”).

 The Debtors’ herd is subject to change in the normal course. For the avoidance of




                                              3
Case 18-70870-JAD        Doc 184     Filed 01/27/21 Entered 01/27/21 13:51:47   Desc Main
                                    Document     Page 4 of 11



 doubt, the Debtors seek to sell all livestock they own as of the date of closing on the

 sale.

         10.   The Respondents which may hold liens, claims and encumbrances

 against the assets the Debtors seek to sell are as follows:

               a.       M&T Bank;

               b.       The United States of America Farm Service Agency;

               c.       Cargill, Inc.;

               d.       Susquehanna Commercial Finance, Inc.;

               e.       Growmark FS, LLC;

               f.       FS Financial Services, LLC;

               g.       Wells Fargo Vendor Financial Services, LLC;

               h.       Blair County Tax Claim Bureau;

               i.       The Pennsylvania Department of Revenue, and

               j.       The Internal Revenue Service.

 The Debtors engage Juniata Realty

         11.   On January 14, 2021, the Debtors filed an Expedited Application for

 Approval of Real Estate Broker (Doc #175).

         12.   On January 20, 2021, this Honorable Court entered an Order approving

 Juniata Realty as the Debtors’ Real Estate Broker.

         13.   It was contemplated among the Debtors, M&T and Juniata Realty that

 Juniata Realty be given 45 to 60 days to market the assets that the Debtors seek to sell

 through this Motion.




                                               4
Case 18-70870-JAD         Doc 184    Filed 01/27/21 Entered 01/27/21 13:51:47               Desc Main
                                    Document     Page 5 of 11



        14.     Accordingly, the Debtors are seeking a Sale Hearing date between March

 10, 2021 and March 18, 2021. Consistent with the same, the Debtors will self-schedule

 this Motion for March 16, 2021.

 The Proposal from Eric and Jennifer Frederick

        15.     The Debtors have received an offer to Purchase the Frederick Road

 Properties and the Personal Property from Eric and Jennifer Frederick pursuant to the

 Purchase and Sale Agreement dated January 26, 2021, which is attached hereto as

 Exhibit C.

        16.     Eric Frederick is the son of the Joint Debtors. Jennifer Frederick is the

 daughter-in-law of the Joint Debtors.

        17.     The proposed consideration is $2,100,000.00 plus the assumption of the

 Debtors’ obligations to Growmark FS, LLC and FS Financial Services, LLC (collectively

 “Growmark”) to the extent of Growmark’s allowed secured claim under 11 USC §§ 506

 and 510, if any, on the Personal Property1.

        18.     M&T has a first position lien on the Frederick Road Properties and a

 second position lien on the Personal Property while the FSA has a first position lien on

 the Personal Property. There is no equity in the assets beyond the liens of M&T and the

 FSA.

        19.     Per the Stipulation, M&T and the FSA have agreed to accept this amount

 of consideration for a release of their liens on the assets being sold and provided that

 they are paid at closing.




 1 Growmark challenges the enforceability of certain Subordination Agreements executed in favor of M&T
 regarding the Personal Property.

                                                   5
Case 18-70870-JAD      Doc 184    Filed 01/27/21 Entered 01/27/21 13:51:47       Desc Main
                                 Document     Page 6 of 11



 The Proposal from Mark and Megan Frederick

       20.    The Debtors have received an offer to purchase Cove Lane from Mark

 and Megan Frederick pursuant to the Purchase and Sale Agreement dated January 26,

 2021, which is attached hereto as Exhibit D.

       21.    There is no known relation between the Debtors and Mark and Megan

 Frederick.

       22.    The proposed consideration is $850,000.00.

       23.    M&T has a first position lien on Cove Lane. Cove Lane is vacant land and

 there is no Personal Property being sold with Cove Lane. There is no equity in Cove

 Lane beyond the lien of M&T.

       24.    Per the Stipulation, M&T has agreed to accept this amount of

 consideration for a release of its lien on Cove Lane provided that M&T is paid at closing.

 The Bid Procedures Motion

       25.    Simultaneously with the filing of this Motion, the Debtors are filing an

 Expedited Motion to Approve Bid Procedures (the “Bid Procedures Motion”).

       26.    Per the Bid Procedures Motion, the Debtors, with the support of M&T and

 the FSA have proposed that competing bids be solicited for the Frederick Road

 Properties and Personal Property (together as one lot) and for Cove Lane (individually

 and in bulk with the Frederick Road Properties and Personal Property). They have

 further proposed that this Honorable Court determine the highest or best bid or bids at

 the Sale Hearing.




                                             6
Case 18-70870-JAD      Doc 184    Filed 01/27/21 Entered 01/27/21 13:51:47        Desc Main
                                 Document     Page 7 of 11



                                  RELIEF REQUESTED

       27.    Through this Motion, the Debtors seek to sell the Frederick Road

 Properties, Cove Lane and the Personal Property at the highest price offered by

 qualified bidders at an auction with the proposal from Eric and Jennifer Frederick

 serving as the opening bid on the Frederick Road Properties and Personal Property and

 the proposal from Mark Frederick and Megan Frederick serving as the opening bid on

 Cove Lane.

       28.    Further, the Debtors seek to transfer the liens, claims and encumbrances

 to the proceeds of the sale(s) in accordance with their priority, if and to the extent that

 they may be determined to be valid liens against the Frederick Road Properties, Cove

 Lane, or the Personal Property. The Debtors seek to pay M&T and the FSA at closing

 up to the full amount of their allowed secured claims.

       29.    The assets are being sold as-is, where-is.

       30.    The Debtors believe, and therefore aver that the proposed sale is fair and

 reasonable and acceptance and approval of the same is in the best interest of this

 Estate.

       WHEREFORE, the Debtors respectfully request that this Honorable Court enter

 the proposed Order approving the sale(s) free and clear of all liens, claims and

 encumbrances.




                                             7
Case 18-70870-JAD   Doc 184    Filed 01/27/21 Entered 01/27/21 13:51:47   Desc Main
                              Document     Page 8 of 11



                                             Respectfully Submitted,



 Date: January 27, 2021                      /s/ Robert O Lampl
                                             ROBERT O LAMPL
                                             PA I.D. #19809
                                             JOHN P. LACHER
                                             PA I.D. #62297
                                             RYAN J. COONEY
                                             PA I.D. #319213
                                             SY O. LAMPL
                                             PA I.D. #324741
                                             ALEXANDER L. HOLMQUIST
                                             PA I.D. # 314159
                                             223 Fourth Avenue, 4th Fl.
                                             Pittsburgh, PA 15222
                                             (412) 392-0330 (phone)
                                             (412) 392-0335 (facsimile)
                                             Email: rlampl@lampllaw.com




                                         8
Case 18-70870-JAD      Doc 184    Filed 01/27/21 Entered 01/27/21 13:51:47   Desc Main
                                 Document     Page 9 of 11



                  IN THE UNITED STATES BANKRUPTCY COURT
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 IN RE:

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 GROWMARK FS, LLC, FS FINANCIAL
 SERVICES, LLC, WELLS FARGO
 VENDOR FINANCIAL SERVICES, LLC,
 BLAIR COUNTY TAX CLAIM BUREAU,
 PENNSYLVANIA DEPARTMENT OF
 REVENUE, AND THE INTERNAL
 REVENUE SERVICE,

              Respondents.

                               CERTIFICATE OF SERVICE

       I, Robert O Lampl, hereby certify, that on the 27th day of January, 2021, a true

 and correct copy of the foregoing MOTION FOR SALE OF REAL PROPERTY AND

 PERSONAL PROPERTY FREE AND CLEAR OF ALL LIENS, CLAIMS AND

 ENCUMBRANCES was served upon the following (via First Class US Mail and/or Email

 as noted below):

 Office of the U.S. Trustee
 970 Liberty Center
 1001 Liberty Avenue

                                            9
Case 18-70870-JAD     Doc 184 Filed 01/27/21 Entered 01/27/21 13:51:47   Desc Main
                             Document    Page 10 of 11



 Pittsburgh, PA 15222
 (via First-Class U.S. Mail)
 M&T Bank
 c/o William E. Kelleher
 Dentons Cohen & Grigsby, P.C.
 625 Liberty Avenue
 Pittsburgh, PA 15222
 (via email: Bill.kelleher@dentons.com)

 The FSA
 c/o Jill Locnikar
 Assistant United States Attorney
 Joseph F. Weis Jr. United States Courthouse
 700 Grant Street, Suite 4000
 Pittsburgh, PA 15219
 (via email: Jill.Locnikar@usdoj.gov)

 FS Financial Services, LLC
 c/o Growmark FS, LLC
 ATTN Jill Henninger
 308 NE Front Street
 Milford, DE 19963
 (via email: jhenninger@growmarkfs.com)

 Growmark FS, LLC
 ATTN Jill Henninger
 308 NE Front Street
 Milford, DE 19963
 (via email: jhenninger@growmarkfs.com)

 Susquehanna Commercial Finance, Inc.
 2 Country View Road, Suite 300
 Malvern, PA 19355
 (via First-Class U.S. Mail)

 Wells Fargo Vendor Financial Services, LLC
 ATTN Michelle Schulten
 1010 Thomas Edison Blvd. SW
 Cedar Radpids, IA 52404
 (via email: Michelle.schulten@wellsfargo.com)

 Blair County Tax Claim Bureau
 423 Allegheny Street, Suite 143
 Holidaysburg, PA 16648
 (via First-Class U.S. Mail)



                                          10
Case 18-70870-JAD      Doc 184 Filed 01/27/21 Entered 01/27/21 13:51:47     Desc Main
                              Document    Page 11 of 11




 Pennsylvania Department of Revenue
 Bankruptcy Division
 PO Box 280946
 Harrisburg, PA 17128
 (via First-Class U.S. Mail)

 The Internal Revenue Service
 c/o Jill Locnikar
 Assistant United States Attorney
 Joseph F. Weis Jr. United States Courthouse
 700 Grant Street, Suite 4000
 Pittsburgh, PA 15219
 (via email: Jill.Locnikar@usdoj.gov)

 Cargill, Inc.
 P.O. Box 6034
 Fargo, ND 58108
 (via First-Class U.S. Mail)

 Eric and Jennifer Frederick
 1219 Frederick Road
 Martinsburg, PA 16662
 (via First-Class U.S. Mail)



 Date: January 27, 2021                        /s/ Robert O Lampl
                                               ROBERT O LAMPL
                                               PA I.D. #19809
                                               JOHN P. LACHER
                                               PA I.D. #62297
                                               RYAN J. COONEY
                                               PA I.D. #319213
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                                         11
